eo

The Court has advised me that I have the right to be rej. _-¢d by an attomey and if I find the Defendant. __.‘ands and freely and voluntarily waives the

 

 

indigent to have an attorney appointed to represent me, I WAIVE MY RIGHT TO right to an attorney

AN ATTORNEY AND WISH TO PROCEED IN THIS CASE WITHOUT AN

ATTORNEY.

Date Defendant Date Judge

a a
( ) I waive my right to a preliminary examination and agree for my case to be bound over to the County Grand Jury.

 

(.) I waive my right to be tried only after being indicted by the Grand jury and waive my right to a trial by jury and plead NOT GUILTY to violation(s) of TCA

 

 

 

Attorney for Defendant Date Defendant
Tenn. R. Crim. P. 44 requires defendants to execute a written waiver of the right to counsel. However, the Court must also orally explain many rights, and the effect of a waiver
of those rights, prior to accepting the defendant’s waiver. See Tenn. R. Crim. P. 44(a); Smith v. State, 987 S.W.2d 871 (Tenn. Crim. App. 1998).

I plead GUILTY to violation of T.C.A. . Ihave been advised by the Court of the following: (1) the nature of the charge(s)
to which the plea is offered; (2) the mandatory minimum penalty provided by law, if any, and the maximum possible penalty provided by law; (3) if applicable, a different or
additional punishment may result by reason of my prior conviction(s) or other factors which may be established in the present action after the entry of my plea, (4) if applicable,
any prior convictions may be presented to the Court for its consideration in determining punishment, and (5) that I have the following rights: (a) to be prosecuted only upon an
indictment or presentment; (b) to be represented by an attorney at every stage of the proceeding and, ifnecessary, to the appointment of an attorney; (c) to plead not guilty or to
persist in that plea if it has already been made; (d) to be tried by a jury and to the assistance of an attorney at such a trial; (e) to confront and cross-examine witnesses against me;
(f) not to be compelled to incriminate myself, (g) to have an appellate court review the basis of my conviction, and (h) to have a jury set any fine greater than $50.00.

I understand that if I plead guilty I waive all of these rights, including my right to a trial. I understand that there will not be a trial of any kind. Pursuant to the terms
of my plea agreement, there a will o will not be a sentencing hearing. I understand that if 1 plead guilty I may be asked questions about the offense(s) to which I have pleaded,
and if I answer these questions under oath, on the record, and in the presence of counsel, my answers may later be used against me in a prosecution for perjury or aggravated
perjury. After carefully considering all of these matters, I voluntarily waive my rights and request that the Court accept my plea of GUILTY.

 

 

Attorney for Defendant Date Defendant

] addressed the defendant personally in open court, advised him/her of the rights itemized above, inquired into his/her understanding of the consequences of entering a
guilty plea, and inquired into the accuracy of the plea. I hereby conclude that the defendant understands his/her rights, that the plea is voluntary and not the result of force or
threats or of promises apart from a plea agreement, that there is a factual basis for the plea, and that the defendant’s willingness to plead guilty results from prior discussions
between the District Attorney General and the defendant or the defendant’s attorney. | find that the plea of GUILTY heretofore entered by the defendant is acceptable and,
therefore, accept the plea. The judgment and sentence shall reflect the disposition provided for in the plea agreement.

 

Judge Date
GENERAL SESSIONS COURT OF DICKSON COUNTY TENNESSEE

State of Tennessee vs. Joshua A Garton

State Control # 5092159 Dickson County Case # 22GS1-2021-CR-118 (Harassment

     
   
 

JUDGMENT

ismissed ( ) Not Guilty ()Nolle Prosequi () Pretrial/Judicial Diversion

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Costs taxed to the Prosecutor {s
( ) State’s motion to not prosecute ae preliminary hearing ( ) affiant did not appear ( ) Defendant waived extradition
Cost taxed to the Defendant
( ) Costs and taxes. - ( ) Cost
Defendant Indigent
\ Found GUILTY of violation of TCA
fined $ taxed with costs and taxes and sentenced to serve months days in the County Jail (Class Misd.)
Jail sentence suspended except on condition of good behavior, payment of fines, costs and taxes and restitution of
$ to and ( ) no contact with
( ) supervised probation for ( ) unsupervised probation for .
(_) not drive in Tennessee for year(s) and completion of ( ) DUI school ( ) alcohol/drug evaluation and counseling (_) domestic abuse counseling
() hours of community service :
To report to serve on at am/pm. Time served credit (_) Sentence may be served on consecutive weekends
Release eligibility date is % of the term of imprisonment
. ( ) Appealed ( ) Defendant bound over to County Grand Jury after ( ) preliminary hearing ( ) waiving preliminary hearing and
( ) bail set at $ () Defendant shall continue on current bond of $
Other

 

 

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District Attorney
